               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                     Civil Case No. 2:11-cv-00009-MR
                 [Criminal Case No. 2:07-cr-00039-MR-5]

GAVIN COLVIN,             )
                          )
         Petitioner,      )
                          )
    vs.                   )               MEMORANDUM OF
                          )               DECISION AND ORDER
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER comes before the Court on consideration of the

Petitioner’s Motion to Vacate, Set Aside or Correct Sentence filed pursuant

to 28 U.S.C. § 2255 [Doc. 1]. For the reasons that follow, Petitioner’s

Section 2255 motion will be denied and dismissed.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On October 1, 2007, Petitioner and four others were charged by the

grand jury in this District with one count of conspiracy to possess and

distribute at least 500 grams of a substance containing methamphetamine,

all in violation of 21 U.S.C. § 846 and 21 U.S.C. §§ 841(a)(1) & (b)(1)(A).

[Criminal Case 2:07-cr-00039-MR, Doc. 1: Indictment]. The Indictment

further charged that at least 500 grams of methamphetamine was

foreseeable to each of the defendants charged in the conspiracy.


     Case 2:07-cr-00039-MR-WCM   Document 161   Filed 01/31/14   Page 1 of 9
      Petitioner elected to plead not guilty and he was later tried and

convicted by a jury following a two-day trial, the Honorable Lacy H.

Thornburg presiding. Although the jury found that Petitioner was not

personally involved in the distribution or possession of methamphetamine,

the jury found that Petitioner was guilty of the conspiracy charge and that

the distribution and possession at least 500 grams of methamphetamine

was reasonably foreseeable to Petitioner and in furtherance of the

conspiracy. [Id., Doc. 78: Jury Verdict].

      The probation officer prepared a presentence report (PSR) in

advance of the sentencing hearing. Petitioner, though counsel, filed two

objections which are relevant to his § 2255 motion. First, Petitioner

objected to the PSR’s recommendation of a two-level increase for

obstruction of justice under U.S.S.G. § 3C1.1, cmt. n.4(B).1 In his second

objection, Petitioner argued that he should be entitled to a downward

departure based, in part, on the jury’s finding that he was not personally


1
  The Court may apply a two-level increase for obstruction of justice for providing false
testimony, so long as the application does not serve to punish a defendant for merely
exercising his right to testify. See, e.g., U.S.S.G. § 3C1.1, cmt. n.2; United States v.
Como, 53 F.3d 87, 89 (5th Cir. 1995). Here, the probation officer found that Petitioner
committed perjury during his trial when he (1) testified that he had not purchased
methamphetamine for a co-conspirator, Philip Denton; (2) denied that he had supplied
Denton with any illicit narcotics; (3) denied buying two to four ounces of
methamphetamine, citing his lack of resources at the time of the alleged purchase; and
(4) denied being supplied methamphetamine by an individual named Nate from Atlanta.
[Id., Doc. 107: PSR ¶¶ 23, 30].
                                           2

    Case 2:07-cr-00039-MR-WCM        Document 161      Filed 01/31/14    Page 2 of 9
involved in the distribution and possession of at least 500 grams of

methamphetamine. [Id. at 18].

         Petitioner’s statutory range of imprisonment was not less than 5 years

nor more than 40 years’ imprisonment. Based on a total offense level of 32

and a Level I criminal history category, his guideline range was 121 to 151

months. [Id. 31, 43, 65-66]. The PSR noted that if Petitioner’s objection to

the obstruction enhancement was sustained, his total offense level would

decrease to 30, therefore yielding a guideline range of 97 to 121 months.

[Id.].

         On November 25, 2008, Petitioner appeared for his sentencing

hearing. At the hearing, Petitioner’s counsel objected to the obstruction

enhancement contending that to apply the two-level increase could deter a

defendant from choosing to testify in his own defense. The Government

responded by noting that all defendants should be dissuaded from

presenting false testimony and that the two-level increase was warranted

because Petitioner’s testimony was rebutted by ample evidence.               The

Court overruled Petitioner’s objection to the obstruction enhancement after

finding by a preponderance of the evidence that Petitioner’s testimony

during trial was untruthful and his motion for a downward departure was




                                        3

    Case 2:07-cr-00039-MR-WCM      Document 161   Filed 01/31/14   Page 3 of 9
denied.     [Id., Doc. 137: Sentencing Tr. at 6-7].         Petitioner was then

sentenced to a term of 121 months’ imprisonment.

        Petitioner appealed his conviction and sentence to the United States

Court of Appeals for the Fourth Circuit. On appeal, Petitioner raised only

two issues: first, that the trial court erred in limiting his counsel’s cross-

examination of Government witnesses; and second, that the trial court

erred in admitting certain testimony by an investigating officer regarding

pre-trial statements of Government witnesses. The Court rejected both

arguments and affirmed his judgment.

        Petitioner then filed the present motion to vacate pursuant to 28

U.S.C. § 2255.2 Petitioner presents two claims for relief in this collateral

proceeding which will be examined herein.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to examine motions to vacate,

along with “any attached exhibits and the record of prior proceedings” in

order to determine whether a petitioner is entitled to any relief. The Court

has considered the record in this matter and applicable authority and



2
 This habeas proceeding was assigned to the undersigned following Judge Thornburg’s
retirement.
                                         4

      Case 2:07-cr-00039-MR-WCM    Document 161     Filed 01/31/14   Page 4 of 9
concludes that this matter can be resolved without an evidentiary hearing.

See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         Generally speaking, a petitioner is procedurally barred from

presenting a claim in a collateral proceeding if he failed to raise it on direct

appeal. See Massaro v. United States, 538 U.S. 500, 504 (2003); Bousley

v. United States, 523 U.S. 614, 621 (1998) (“Habeas review is an

extraordinary remedy and will not be allowed to do service for an appeal.”)

(internal citations and quotation marks omitted).        Claims that were not

raised on direct appeal are deemed procedurally defaulted unless the

petitioner can demonstrate “cause and actual prejudice resulting from the

errors of which he complains or he must demonstrate that a miscarriage of

justice would result from the refusal to entertain the collateral attack.”

United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999) (citing

United States v. Frady, 456 U.S. 152, 167-68 (1982)).

         In his motion to vacate, Petitioner appears to challenge the subject

matter jurisdiction of this Court to sentence Petitioner in the manner that it

did. In his first claim, Petitioner argues that “the district court lacked subject

matter jurisdiction to expose[ ] the defendant to a sentence under the

statutory penalty provision of Title 21 U.S.C. (b)(1)(A) [sic] for a statutory


                                        5

       Case 2:07-cr-00039-MR-WCM   Document 161    Filed 01/31/14   Page 5 of 9
penalty provision conviction under Title 21 U.S.C. 841(b)(1)(C) of the

Comprehensive Drug Abuse Prevention and Control Act of 1970.” [Doc. 1

at 9].3 In his second claim, Petitioner argues that “the district court lacked

subject matter jurisdiction to impose a penalty upon the defendant for

obstruction of justice ‘perjury’ that was not charged in the indictment

pursuant to an act of Congress or proven by beyond a reasonable doubt by

a jury.” [Id. at 11].

      The procedural default rule is generally inapplicable to claims

challenging the subject matter jurisdiction of the court. “The principle that a

defect bearing on the court’s jurisdiction cannot be procedurally defaulted

appears to be an extension of the notion that jurisdictional errors are not

waivable and can be raised at any time.”             Smith v. United States, 845

F.Supp. 1288, 1293 (S.D. Fla. 2012). This exception for challenges for

jurisdictional errors, however, is “limited to errors that actually affect the

court’s subject matter jurisdiction, or its power to adjudicate a case.” Id.

(citing United States v. Burch, 169 F.3d 666, 668 (10th Cir. 1999)).



3
  While Petitioner argues this issue as a misapplication of 21 U.S.C. § 841(b)(1)(C),
Petitioner was neither charged under § 841(b)(1)(C) nor sentenced under that provision.
His charge and conviction are pursuant to 21 U.S.C. § 846, which sets the statutory
range of imprisonment in accordance with 21 U.S.C. § 841(b)(1)(A)(viii). The sentence
given (121 months) is squarely within that statutory range (five to twenty years). If
Petitioner intended something more by this reference to § 841(b)(1)(C), it is
indecipherable from his filings with this Court.
                                          6

    Case 2:07-cr-00039-MR-WCM        Document 161     Filed 01/31/14   Page 6 of 9
      While Petitioner attempts to couch his claims in terms of challenging

the Court’s subject matter jurisdiction, this characterization is a misnomer.

The subject matter jurisdiction of this Court is derived from 18 U.S.C. §

3231, which grants the federal courts original jurisdiction over “all offenses

against the laws of the United States.” 18 U.S.C. § 3231; see also Hugi v.

United States, 164 F.3d 378, 380-81 (7th Cir. 1999) (“Subject-matter

jurisdiction in every federal criminal prosecution comes from 18 U.S.C. §

3231, and there can be no doubt that Article III permits Congress to assign

federal criminal prosecutions to federal courts. That’s the beginning and

the end of the ‘jurisdictional’ inquiry.”) (internal quotation marks omitted).

Here, Petitioner’s claims are not directed to any error actually affecting the

Court’s power to exercise jurisdiction over this case. Indeed, any such

claim would be meritless, as the Indictment clearly charges Petitioner with

a violation of federal criminal statutes for which the Court can properly

exercise its jurisdiction pursuant to § 3231. Because Petitioner’s claims are

not jurisdictional in nature, they are subject to the procedural default rule

and will be deemed procedurally barred unless Petitioner can demonstrate

cause and actual prejudice resulting from the errors or that a miscarriage of

justice would result from the refusal to entertain his motion.




                                       7

   Case 2:07-cr-00039-MR-WCM     Document 161    Filed 01/31/14   Page 7 of 9
        Here, Petitioner offers no reason why he did not assert these claims

on direct appeal, and he offers no cause to excuse his procedural default.

Further, Petitioner has not shown that any miscarriage of justice would

result if these claims were dismissed. Because Petitioner failed to avail

himself of his right to present these arguments on direct review, and finding

no miscarriage of justice, the Court concludes that Petitioner is procedurally

barred from presenting these claims on collateral review.

IV.     CONCLUSION

        Based on the foregoing, the Court finds that Petitioner’s § 2255

motion presents no meritorious claims for relief and it will be denied and

dismissed.

        Further, pursuant to Rule 11(a) of the Rules Governing Section 2255

Cases, the Court declines to issue a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is


                                      8

      Case 2:07-cr-00039-MR-WCM   Document 161   Filed 01/31/14   Page 8 of 9
debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

                                 ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside or correct sentence [Doc. 1] is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.

                                    Signed: January 31, 2014




                                     9

   Case 2:07-cr-00039-MR-WCM    Document 161          Filed 01/31/14   Page 9 of 9
